                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

RACHAEL ANNE ELROD, ANDREW
KAUFMAN, and SARAH MARTIN, on
behalf of themselves and all others
similarly situated,                          Case No. 3:20-cv-00617

                  Plaintiffs,
                                             District Judge Eli J. Richardson
       v.                                    Magistrate Judge Barbara D. Holmes

NO TAX 4 NASH, MICHELLE                      CLASS ACTION
FOREMAN, and KAREN MOORE,
                                             JURY DEMAND
               Defendants.
__________________________________
BROOKS BRASFIELD, on behalf of
himself and all others similarly situated,
                                             Consolidated with
                  Plaintiff,                 Case No.: 3:20-cv-00618
       v.

NO TAX 4 NASH, MICHELLE
FOREMAN, and KAREN MOORE,

                 Defendants.


MICHELLE FOREMAN and KAREN
MOORE,

            Third-Party Plaintiffs,

       v.

BEST SELLERS, LLC, HEATHER
SELLERS, JOE GERGLEY, and
HYPERMETRICS, LLC,

        Third-Party Defendants.


  PLAINTIFFS’ MOTION FOR ATTORNEY’S FEES, EXPENSES, AND SERVICE
                            AWARDS




 Case 3:20-cv-00617 Document 157 Filed 07/25/22 Page 1 of 5 PageID #: 1083
       Consistent with Rule 23, Plaintiffs Rachael Ann Elrod, Andrew Kaufman, Sarah Martin,

and Brooks Brasfield (the “Class Representatives” or “Plaintiffs”), individually and on behalf of

the preliminarily certified Settlement Class, hereby submit this Motion for Attorney’s Fees,

Expenses, and Service Awards.

       On May 25, 2022, the Court entered its Preliminary Approval Order Granting Motion for

Preliminary Approval of Class Settlement. (D.E. #152) (“Preliminary Approval Order”).

       As explained in greater detail in the accompanying Memorandum of Support, all

requirements set by the Court in its Preliminary Approval Order have been satisfied. In support of

this Motion, the Plaintiffs rely upon the following:

       1. Memorandum of Law in support hereof filed contemporaneously herewith;

       2. All documents submitted in support of the previously filed Motion for Preliminary
          Approval (D.E. #145); and

       3. Declarations by Class Counsel Joe P. Leniski, Jr. of Branstetter, Stranch & Jennings,
          PLLC, and John Spragens of Spragens Law, PLC, with supporting exhibits.

       Accordingly, Plaintiffs respectfully request an order awarding: (1) attorney’s fees to

counsel for the Class (“Class Counsel”) in the amount of $336,799.65, which represents one-

third of the $1,010,500.00 common Settlement Fund, (2) award out-of-pocket litigation costs and

expenses of an amount not to exceed $11,000.00, which is currently $10,675.31 through July 25,

2022; and (3) approving service awards to each of the four Class Representatives in the amount of

$2,500.00 each.




                                     1 07/25/22 Page 2 of 5 PageID #: 1084
   Case 3:20-cv-00617 Document 157 Filed
Dated: July 25, 2022                    Respectfully submitted,


                                        By: /s/ Joe P. Leniski Jr.
                                        JOE P. LENISKI, JR. (BPR# 22891)
                                        ANTHONY ORLANDI (BPR# 33988)
                                        BRANSTETTER STRANCH &
                                        JENNINGS, PLLC
                                        The Freedom Center
                                        223 Rosa L. Parks Ave., Suite 200
                                        Nashville, Tennessee 37203
                                        Telephone: (615) 254-8801
                                        joeyl@bsjfirm.com
                                        aorlandi@bsjfirm.com

                                        John Spragens (TN Bar No. 31445)
                                        SPRAGENS LAW PLC
                                        311 22nd Ave. N.
                                        Nashville, TN 37203
                                        Telephone: (615) 983-8900
                                        john@spragenslaw.com

                                        Class Counsel




                                    2 07/25/22 Page 3 of 5 PageID #: 1085
  Case 3:20-cv-00617 Document 157 Filed
                               CERTIFICATE OF SERVICE

       It is hereby certified that on July 25, 2022, the foregoing Motion for Attorney’s Fees,

Expenses and Service Awards was served via the Court’s CM/ECF system upon the following

counsel of record:

Darrick O’Dell
Spicer Rudstrom, PLLC
Philips Plaza
414 Union St., Suite 1700
Nashville, TN 37219
Telephone: (615) 259-9080
dlo@spicerfirm.com

Timothy G. Harvey
Keane A. Barger
Riley Warnock & Jacobson, PLC
1906 West End Avenue
Nashville, Tennessee 37203
Telephone: (615) 320-3700
tharvey@rwjplc.com
kbarger@rwjplc.com

G. Kline Preston, IV
Kline Preston Law Group, PC
4515 Harding Pike
Suite 107
Nashville, TN 37205
(615) 279-1619
Fax: (866) 610-9565
kpreston@klineprestonlaw.com

Richard W. Wackerfuss
Scott McCullough
MCNABB, BRAGORGOS, BURGESS & SORIN, PLLC
81 Monroe Avenue, Sixth Floor I
Memphis, TN 38103
Facsimile: (901) 624-0650
rwackerfuss@mbbslaw.com




                                    3 07/25/22 Page 4 of 5 PageID #: 1086
  Case 3:20-cv-00617 Document 157 Filed
Robert R. Laser, III (No. 31202)
300 James Robertson Pkwy., Ste. 402
Nashville, TN 37201
Phone: (615) 622–1122
rob@laserlawfirm.com

D. Gil Schuette
Evan Rothey
Sims Funk, PLC
3322 West End Ave., Suite 200
Nashville, TN 37203
gschuette@simsfunk.com
erothey@simsfunk.com



                                        /s/ Joe P. Leniski, Jr.
                                        Joe P. Leniski, Jr.

                                        Class Counsel




                                    4 07/25/22 Page 5 of 5 PageID #: 1087
  Case 3:20-cv-00617 Document 157 Filed
